AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                                                       (For Revocation of Probation or Supervised Release)
         V.                                                            (For Offenses Committed On or After November 1, 1987)


RAFAEL LAFONSE BRISTOL                                                 Case Num ber: DNCW 597CR000214-001
                                                                       USM Num ber: 13258-058

                                                                       Daniel Fulkerson
                                                                       Defendant’s Attorney

THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 1, 2, 3, 5, 6 & 8 of the term of supervision.
X        was found in violation of condition(s) count(s) 7 after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                               Date Violation
 Violation Num ber               Nature of Violation                                           Concluded

 1                               Drug/alcohol use                                              4/7/08

 2                               Failure to report to probation officer as instructed          10/28/09

 3                               Failure to subm it m onthly supervision reports               11/1/09

 5                               Failure to m ake required court paym ents                     11/09

 6                               New law violation                                             4/25/07

 7                               New law violation                                             10/20/09

 8                               Failure to report contact with law enforcem ent officer       10/20/09

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X        Governm ent dism isses violation no. 4.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                       Date of Im position of Sentence: February 9, 2010


                                                                           Signed: February 17, 2010




                  Case 5:97-cr-00214-RLV                Document 162          Filed 02/17/10          Page 1 of 2
AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation



Defendant: RAFAEL LAFONSE BRISTOL                                                                     Judgm ent-Page 2 of 2
Case Num ber: DNCW 597CR000214-001

                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of FOURTEEN (14) MONTHS.

NO SUPERVISED RELEASE TO FOLLOW TERM OF IM PRISONM ENT

 X       The Court m akes the following recom m endations to the Bureau of Prisons:

         That defendant be designated to a facility as close to Newton, NC, as possible.

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




                  Case 5:97-cr-00214-RLV                 Document 162       Filed 02/17/10    Page 2 of 2
